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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
Robert Ward, on his own behalf and on behalf      :
of all others similarly situated,                 :
                                                  :
                       Plaintiff,                 :
v.                                                : Civil Action No.: 2:17-cv-02069-MMB
                                                  :
Flagship Credit Acceptance LLC,                   :
                                                  :
                       Defendant                  :
                                                  :
                                                  :
                                                  :

                              MOTION FOR
            PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiff Robert Ward (“Plaintiff”), by and through his undersigned counsel and having

reached a class action settlement agreement with Defendant Flagship Credit Acceptance LLC

(“Flagship” or “Defendant”) (collectively, the “Parties”), respectfully moves this Court, pursuant

to Federal Rule of Civil Procedure 23, for an order: (1) granting preliminary approval of the

Class Action Settlement (the “Settlement”) in this matter, (2) certifying the proposed Settlement

Class for settlement purposes, (3) approving the form and content of the Notice to be sent to the

members of the Settlement Class pursuant to the plan detailed in the Settlement Agreement, (4)

appointing proposed Class Counsel and the Class Representative to represent the Settlement

Class, and (5) scheduling a final fairness hearing.

       In support, the Plaintiff submits the accompanying Memorandum of Law in Support of

Plaintiff’s Motion for Preliminary Approval of Class Action Settlement, the executed Settlement

Agreement and its exhibits (1-6), the declarations of proposed Class Counsel Sergei Lemberg

and Stephen Taylor and a declaration from the Settlement Administrator.
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       For the reasons set forth in the accompanying memorandum, Plaintiff respectfully

requests that the Court enter the Preliminary Approval Order in the form agreed to by the Parties

as Exhibit 5 to the Settlement Agreement and submitted herewith as Exhibit A to this motion.

Dated: July 12, 2018                                Respectfully submitted,


                                                   Robert Ward, individually and on behalf of all
                                                   others similarly situated,

                                            By:    /s/ Stephen Taylor
                                                   Sergei Lemberg
                                                   Stephen Taylor
                                                   Lemberg Law LLC
                                                   43 Danbury Road
                                                   Wilton, CT 06897
                                                   Tel: 203.653.2250
                                                   Fax: 203.653.3424




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                                 CERTIFICATE OF SERVICE

       I, Stephen Taylor, an attorney, certify that, on July 12, 2018, the foregoing was filed with
the Clerk of the Court through the CM/ECF system which sent notice of such filing to the
following:

Gerald E. Arth
Steven J. Daroci, II
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103




                                                     /s/ Stephen Taylor
                                                     Stephen Taylor
